
		
				IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2022 OK 54Case Number: SCBD-7059Decided: 06/06/2022As Corrected: June 9, 2022THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2022 OK 54, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

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IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONPAYMENT OF 2021 DUES



ORDER STRIKING NAMES



The Board of Governors of the Oklahoma Bar Association filed an Application for Order Striking Names of attorneys from the Oklahoma Bar Association's membership rolls for failure to pay dues as members of the Oklahoma Bar Association for the year 2021.

Pursuant to the Rules Creating and Controlling the Oklahoma Bar Association (Rules), 5 O.S. 2011, ch. 1, app. 1, art. VIII, §2, the Oklahoma Bar Association's members named on Exhibit A, attached hereto, were suspended from membership in the Oklahoma Bar Association and prohibited from practicing law in the State of Oklahoma by this Court's Order of June 7, 2021 and thereafter by Correction Order dated June 10, 2021, for failure to pay their 2021 dues in accordance with Article VIII, Section 2 of the Rules. Based upon the application, this Court finds that the Board of Governors determined at its May 20, 2022 meeting that none of the Oklahoma Bar Association members named on Exhibit A, attached hereto, have applied for reinstatement, pursuant to Article VIII, Section 4 of the Rules, at the time of the filing of its application. The Board of Governors further declared that the members named on Exhibit A, attached hereto, shall cease to be members of the Oklahoma Bar Association and that their names should therefore be stricken from the membership rolls and the Roll of Attorneys on June 10, 2022, pursuant to Article VIII, Section 5 of the Rules. This Court further finds that the actions of the Board of Governors of the Oklahoma Bar Association are in compliance with the Rules.

IT IS THEREFORE ORDERED that the attorneys named as set forth on Exhibit A, attached hereto, are hereby stricken from the Roll of Attorneys on June 10, 2022 for failure to pay their dues as members of the Association for the year 2021.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 6TH DAY OF JUNE, 2022.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR.


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EXHIBIT A

(DUES -- STRIKE)

John Scot Overbey, OBA No. 32094
5454 Washington Ave., Apt. 3604
Houston, TX 77007

Arya Affeldt Adibi, OBA No. 30837
6226 E. 98th St.
Tulsa, OK 74137

Andrew David Balint, OBA No. 22373
114 N. Grand Ave., Ste. 408
Okmulgee, OK 74447-4032

Mitchell Kenneth Coatney,
OBA No. 21066
16328 Muirfield Pl.
Edmond, OK 73013

James Troy Gaston, OBA No. 19813
9020 Urban View
Fort Smith, AR 72903

Keegan Kelley Harroz, OBA No. 30383
625 N.W. 13th St.
Oklahoma City, OK 73103

Daniel Martin Vigilius, OBA No. 34042
1770 S. Rock Rd., Apt. 604
Wichita, KS 67207

Nicholas Weeks, OBA No. 33786
999 Jessica Leigh St.
Elkins, AR 72727

William Donald Smith, OBA No. 15845
925 N.W. 6th St.
Oklahoma City, OK 73106

Randolph Lee Marsh, OBA No. 17313
5 Timber Creek Cir.
Shawnee, OK 74804

Joy Dawn Jones, OBA No. 32639
P.O. Box 911
Miami, OK 74355-0911

Jennifer Lynne Graf, OBA No. 31812
Kilpatrick Townsend &amp; Stockton LLP
2001 Ross Ave., Ste. 4400
Dallas, TX 75201

Robert Eugene Goins, OBA No. 32235
7820 E. Galveston St.
Broken Arrow, OK 74014-7060

Wesley C. Fredenburg, OBA No. 3114
833 Great Oaks Trail
Eagan, MN 55123

Michael Patrick Whelan, OBA No. 22782
6151 E. 52nd St.
Tulsa, OK 74135-7714

Alan Richard Fedman, OBA No. 2854
1851 San Ramon Ave.
Berkeley, CA 94707

Gary Arthur Taylor, OBA No. 8860
3233 N.W. 17th St.
Oklahoma City, OK 73107

Ryan Matthew McFarlin, OBA No. 22232
P.O. Box 224114
Dallas, TX 75222

Nicholas James Strawn, OBA No. 32190
4423 Cole Ave., Apt. 217
Dallas, TX 75205

Joseph Keith Remmel, OBA No. 30813
5323 S. Harvard Ave., Apt. E
Tulsa, OK 74135

Chadwick R. Richardson,
OBA No. 15589
7447 S. Lewis Ave.
Tulsa, OK 74136

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